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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

   MARYVILLE BAPTIST CHURCH, INC., )
   and DR. JACK ROBERTS,                     )
                                             )
                 Plaintiffs,                 )              CASE NO. 3:20-cv-00278-DJH
                                             )
         v.                                  )
                                             )
   ANDY BESHEAR, in his official capacity as )
   Governor of the Commonwealth of Kentucky, )
                                             )
                 Defendant.                  )

                           PLAINTIFFS’ OBJECTIONS TO
                  MAGISTRATE’S REPORT AND RECOMMENDATION ON
                    PLAINTIFFS’ FEE MOTION AND BILL OF COSTS

         Plaintiffs, Maryville Baptist Church, Inc. and Dr. Jack Roberts, pursuant to 28 U.S.C.

  § 636(b) and Rule 72(b), object to the Magistrate’s Report and Recommendation entered June 16,

  2022 (Doc. 87, the “Report”), recommending denial of Plaintiffs’ Motion for Attorney’s Fees and

  Nontaxable Expenses (Doc. 74, the “Fee Motion”) and Bill of Costs (Doc. 75). Plaintiffs

  specifically object to the Magistrate’s determination that Plaintiffs are not prevailing parties under

  42 U.S.C. § 1988, request the Court’s de novo determination of Plaintiffs’ prevailing party status,

  and request an order rejecting the Report and granting Plaintiffs’ Fee Motion and Bill of Costs.

                                          INTRODUCTION

         Plaintiffs’ Fee Motion recites the relevant facts and proceedings, and establishes Plaintiffs’

  prevailing party status under applicable precedent, including McQueary v. Conway, 614 F.3d 591

  (6th Cir. 2010). (Fee Mot. 1–11.) But the Magistrate’s Report misapplied McQueary by ignoring

  the material differences between the fleeting, abstract relief obtained by the McQueary plaintiff,

  which was insufficient to confer prevailing party status, and the enduring, concrete relief obtained
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  by Plaintiffs in this case entitling them to prevailing party fees. (Rep. 3–7.) The Magistrate also

  invoked inapposite legal principles (Rep. 8), including a stale, non-binding concurrence of Chief

  Justice Roberts in the Supreme Court’s non-precedential denial of emergency injunctive relief in

  a California church lockdown case, even though the Supreme Court shortly thereafter issued

  several binding and precedential decisions against similar church lockdowns, necessarily refuting

  the logic of the Chief Justice’s prior concurrence and rendering it irrelevant to the Supreme Court’s

  subsequent binding and unequivocal rebukes of discriminatory lockdowns like Kentucky’s.

                                             ARGUMENT

         Plaintiffs are prevailing parties because their relief came from the Sixth
         Circuit’s and this Court’s injunctions, not Governor Beshear’s voluntary acts.

         As shown in Plaintiffs’ Fee Motion, where a plaintiff obtains preliminary injunctive relief

  on a claim before a case is dismissed as moot, courts in the Sixth Circuit are to “apply a case-

  specific inquiry” to the prevailing party question, and “look for a court-ordered, material, enduring

  change in the legal relationship between the parties.” Miller v. Caudill, 936 F.3d 442, 448 (6th Cir.

  2019). The Sixth Circuit’s and this Court’s injunctions against enforcement of Governor Beshear’s

  COVID-19 Orders1 against Plaintiffs, prior to the dismissal of Plaintiffs’ claims for mootness

  (Doc. 68), render Plaintiffs prevailing parties.




  1
           “Orders” refers to the series of executive orders and guidances issued by Governor Beshear
  and his cabinet in response to COVID-19, extensively restricting when, where, and how
  Kentuckians may exercise their liberties, including assembling for religious worship according to
  conscience, while exempting myriad businesses and non-religious activities from gathering
  restrictions, beginning with his Executive Order 2020-15 issued March 6, 2020, declaring a state
  of emergency in Kentucky, and including the March 19, 2020 Order of the Cabinet for Health and
  Family Services (the “Gatherings Order”) prohibiting “mass gatherings,” which was defined to
  include religious worship services. (Fee Mot. 2; Stipulation of Facts Not in Dispute (“Stipulation”),
  Doc. 29, ¶¶ 1–2.)


                                                     2
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         The Magistrate’s findings and conclusions obfuscate the value of the court-ordered relief

  obtained by Plaintiffs by suggesting that the injunctive relief Plaintiffs obtained from the Sixth

  Circuit and this Court was limited and was relief Governor Beshear would have given Plaintiffs

  anyway. (Rep. 1–2, 4, 6 & n.4, 8.) Not so. The timeline of the court proceedings and Governor

  Beshear’s changes to his Orders shows that it was the Sixth Circuit and this Court that forced

  Governor Beshear to remove restrictions on Plaintiffs’ assembling for worship at their church.

         Plaintiffs commenced this case on April 17, 2020, after Kentucky police and health

  officials enforced Governor Beshear’s Orders against Plaintiffs and their congregants on Easter

  Sunday, April 12, 2020. (Fee Mot. 2–4; V. Compl., Doc. 1, at 11–17.) Plaintiffs challenged the

  Orders’ restrictions on religious worship, and moved the Court for a temporary restraining order

  (TRO) and preliminary injunction against enforcement of the Orders’ worship restrictions (Doc.

  3). On April 18, the Court issued an Order denying Plaintiffs’ motion for TRO and preliminary

  injunction (Doc. 9, the “TRO/PI Order”). On April 24, Plaintiffs appealed the TRO/PI Order to

  the Sixth Circuit. (Doc. 16.) On May 2, the Sixth Circuit granted Plaintiffs an emergency injunction

  pending appeal (IPA), finding Plaintiffs were “likely to succeed on [their] state and federal claims,

  especially with respect to the [worship] ban’s application to drive-in services.” (Doc. 23, PageID#

  288.) On May 8, after remand from the Sixth Circuit, this Court granted Plaintiffs an IPA and

  preliminary injunction (Doc. 35, the “IPA/PI Order”), likewise finding that “Plaintiffs have a

  strong likelihood of success on the merits of their [state] KRFRA claim” (PageID# 578), and that

  “Plaintiffs are likely to succeed on the merits of their constitutional claims,” because the

  Governor’s Orders could not survive the required strict scrutiny, even as to in-person services.

  (PageID## 578–580.) On May 9, the Cabinet for Health and Family Services issued an order




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  amending its Gatherings Order to immediately permit gathering for religious worship. (Doc. 36-

  1.)

          Thus, contrary to the Magistrate’s insinuation (Rep. 1–2, 4, 8), it was the Sixth Circuit’s

  May 2 IPA (for drive-in services) and this Court’s May 8 IPA/PI Order (for in-person services)

  that secured Plaintiffs return to worship, not any “voluntary” act of Governor Beshear. The

  Governor’s May 8 notice that he intended to allow in-person worship services nearly two weeks

  later, on May 20 (Doc. 34), preceded the Court’s IPA/PI Order that was issued the same day (Doc.

  35), which required immediate removal of worship restrictions. Moreover, the Governor’s May 8

  notice came after the Sixth Circuit’s May 2 IPA concluding Plaintiffs were likely to succeed on

  the merits of their challenges to the Orders, including the Orders’ in-person worship restrictions.2

  Thus, there was nothing “voluntary” about the Governor’s removal of worship restrictions—the

  injunctions restrained the Governor; he did not restrain himself. And, given that Plaintiffs obtained

  court-ordered relief, they need not and do not rely on the rejected “catalyst theory,” contrary to the

  Magistrate’s suggestion. (Rep. 8.)

         Furthermore, the fact that the court-ordered removal of worship restrictions was still

  subject to “public health requirements” and “public health directives” (Rep. 6 & n.4) does not in

  any way undermine the value of the relief obtained by Plaintiffs. In their Complaint, Plaintiffs

  expressly requested the ability to assemble for worship at their church subject to “the social

  distancing and hygiene guidelines pursuant to which the Commonwealth allows so-called ‘life-




  2
          In its May 2 IPA, the Sixth Circuit found Plaintiffs were “likely to succeed on [their] state
  and federal claims, especially [not exclusively] with respect to the [worship] ban’s application to
  drive-in services.” (Doc. 23, PageID# 288 (emphasis added).) Plaintiffs’ state and federal claims
  on which the Sixth Circuit found they were likely to succeed included their challenges to the
  Governor’s ban on in-person worship.


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  sustaining’ commercial and non-religious entities (e.g., beer, wine, and liquor stores, warehouse

  clubs, and supercenters) to accommodate large gatherings of persons without numerical limit.” (V.

  Compl. 48–49.) Thus, the court-ordered relief obtained by Plaintiffs is precisely the court-ordered

  relief they requested, and that relief entitles them to prevailing party fees and costs under

  McQueary.

         Plaintiffs are prevailing parties because their relief was material and
         enduring.

         The Magistrate’s Report also concludes, wrongly, that Plaintiffs only achieved “fleeting

  success” and therefore cannot be prevailing parties under McQueary. (Rep. 5–7.) But the

  Magistrate wrongly equated Plaintiffs’ enduring, concrete relief in this case, entitling them to

  prevailing party fees (Fee Mot. 7–11), with the fleeting, abstract relief obtained by the McQueary

  plaintiff, which was insufficient to confer prevailing party status.

         This case is not like McQueary. The McQueary plaintiff challenged new Kentucky statutes

  that he claimed prohibited the kind of protesting at military funerals that we wanted to engage in.

  See 634 F. Supp. 2d 821, 822–824 (E.D. Ky. 2009). He had protested at a total of three military

  funerals in the past, and claimed the desire to protest again—at some point “in the future.” Id. He

  obtained a preliminary injunction against prospective enforcement of the statutes, but his case was

  mooted by the Kentucky General Assembly’s repeal of the statutes prior to his obtaining

  permanent relief. Id. at 822–830. Following an appeal and remand back to the district court to

  determine whether the protester prevailed by virtue of the preliminary injunction alone, see 614

  F.3d 591 (6th Cir. 2010), the district court held he did not prevail because “the Plaintiff did not

  seek a preliminary injunction that would permit him to protest at a specific funeral or at a specific

  time and place,” and, “[t]hus, the Plaintiff's claim for permanent relief did not become moot when




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  a particular event occurred.” 2012 WL 3149344, at *2 (E.D. Ky. Aug. 1, 2012), aff’d, 508 Fed.

  App’x 522 (6ht Cir. 2012).

         Unlike McQueary, this case did not involve a general constitutional challenge to the

  Governor’s COVID-19 Orders, by an occasional churchgoer who might want to attend a worship

  service in the future. Rather, this case is about a pastor and a church, who lead worship every

  Sunday prior to filing, and who obtained in court the concrete right to assemble for certain,

  scheduled worship, this Sunday, and every subsequent Sunday. If Plaintiffs had sued for the right

  to assemble for Easter Sunday worship only, and had obtained injunctive relief limited to allowing

  their assembly on Easter Sunday, there is no doubt they would be prevailing parties under § 1988

  and McQueary, regardless of the subsequent legislative mooting of their claims for permanent

  injunctive relief. See 614 F.3d 591, 599 (6th Cir. 2010) (“When protesters seek an injunction to

  exercise their First Amendment rights at a specific time and place—say to demonstrate at a

  Saturday parade—a preliminary injunction will give them all the court-ordered relief they need

  and the end of the parade will moot the case. In what way are such claimants not prevailing parties?

  We think they are.” (citing Young v. City of Chicago, 202 F.3d 1000, 1000 (7th Cir.2000))).

  Conversely, had Plaintiffs been merely prospective worshippers (as opposed to a church and its

  pastor) who obtained a preliminary injunction allowing them to worship at any church, at some

  unspecified future date, following which their claims were mooted by legislation, then they would

  be more like the funeral protester plaintiff in McQueary who was deemed not a prevailing party.

  See McQueary v. Conway, No. 06-CV-24-KKC, 2012 WL 3149344, at *2 (E.D. Ky. Aug 1, 2012)

  (“He sought a permanent injunction that would enjoin the Defendant from enforcing the challenged

  provisions at all funerals.”), aff’d, 508 F. App’x 522 (6th Cir. 2012).




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         In reality, “[h]ere, what happened doesn’t fit neatly into those examples.” Miller v. Caudill,

  936 F.3d 442, 448 (6th Cir. 2019). But Plaintiffs do not need their case to be just like any other for

  them to be prevailing parties:

                   Although preliminary-injunction winners must fit within precise
                   parameters to establish prevailing-party status, there are many sets
                   of facts that can fall within those boundaries. Therefore, this case
                   need not be exactly like another case where a court held attorneys’
                   fees were warranted. Rather, the Court views McQueary and the
                   cases awarding attorneys’ fees to preliminary-injunction winners on
                   a spectrum . . . . These cases provide examples, not rules. Any other
                   interpretation is incompatible with McQueary’s contextual and
                   case-specific inquiry. Therefore, the question is: Where does this
                   case fall on that spectrum?

  Miller v. Davis, 267 F. Supp. 3d 961, 980 (E.D. Ky. 2017) (emphasis added), aff'd sub nom, Miller

  v. Caudill, 936 F.3d 442 (6th Cir. 2019).

         As shown in Plaintiffs’ Fee Motion (at 5–11), this case is much closer to the McQueary

  example of a prevailing party protester, who obtained specific preliminary injunctive relief for a

  particular date and time, than McQueary’s actual plaintiff who obtained general preliminary

  injunctive relief for an unspecified future date and time. The McQueary plaintiff, asserting free

  speech rights, merely desired to possibly protest at some time in the future. Plaintiffs in this case,

  asserting free exercise rights, were obligated by conscience and conviction to gather for worship,

  and sought and obtained injunctive relief securing their rights to assemble for worship on each

  upcoming Sunday, for 40 specific, unique, and irrevocably completed Sunday worship services

  prior to dismissal for mootness. The Magistrate acknowledged the enduring nature of the benefits

  received by Plaintiffs and their congregants by fulfilling their religious obligations, but dismissed

  those benefits as “not at issue here.” (Rep. 7.) Contrary to the Magistrate’s ipse dixit, however, the

  enduring benefits obtained by Plaintiffs are precisely the issue for determination in the prevailing

  party inquiry.



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          This case also involved actual enforcement of the challenged polices against Plaintiffs—

  McQueary did not. The injunctive relief obtained by Plaintiffs prohibited any continuation of the

  Easter Sunday enforcement proceedings commenced under the Governor’s Orders. (Fee Mot. 8–

  11.) And this Court’s preliminary injunction remained in place long enough to ensure that neither

  the Easter Sunday 2020 enforcement proceedings nor any enforcement proceedings based on the

  next 25 Sundays could be prosecuted against Plaintiffs or their congregants due to the running of

  the applicable statute of limitations. (Fee Mot. 8–9.) See Roberts v. Beshear, No. 20-cv-00054-

  WOB-CJS, 2021 WL 3827128, at *4 (E.D. Ky. Aug. 26, 2021) (concluding one-year statute of

  limitations applies to same Easter Sunday notices of enforcement against Plaintiffs’ congregants

  in separate case brought by congregants). Any risk of prosecution for violating the Orders for 26

  Sundays—from Easter Sunday through October 4, 2020—was conclusively defeated by the

  injunction and the passage of time.3 Cf. McQueary, 614 F.3d at 599. This protection from

  enforcement for 26 Sundays is legally irrevocable, and therefore enduring, but the Magistrate did

  not engage with this aspect of Plaintiffs’ injunctive relief at all.

          Apparently to bolster the Magistrate’s conclusion that Plaintiffs’ injunctive relief was not

  durable, the Magistrate cited Chief Justice Roberts’ concurrence in the Supreme Court’s denial of

  emergency injunctive relief against a California church lockdown scheme in South Bay United

  Pentecostal Church v. Newsom, 140 S. Ct. 1613 (2020). (Rep. 8.) Not only was the lone

  concurrence non-binding on lower courts at the time it was issued, however, its logic was also




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          Although the Governor’s in-person worship restrictions ostensibly gave way to voluntary
  worship guidelines as of May 9, 2020 (Doc. 36-1), the day after the Court’s IPA/PI Order (Doc.
  35), the ambiguously mandatory language in the guidelines preserved the specter of enforcement
  against Plaintiffs but for the injunction. (See Doc. 36-1 (“Faith-based organizations that have in-
  person services must implement and follow the Guidelines . . . .” (emphasis added)).)


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  soon rejected by a majority of the Supreme Court, numerous times, in a series of precedential and

  binding decisions against church lockdowns similar to Kentucky’s, including the very California

  lockdown at issue in the Chief Justice’s concurrence. See Tandon v. Newsom, 141 S. Ct. 1294,

  1296 (2021) (“[G]overnment regulations are not neutral and generally applicable, and therefore

  trigger strict scrutiny under the Free Exercise Clause, whenever they treat any comparable secular

  activity more favorably than religious exercise.”); South Bay United Pentecostal Church v.

  Newsom, 141 S. Ct. 716, 717 (2021) (Gorsuch, J., statement) (“When a State so obviously targets

  religion for differential treatment, [the Court’s] job becomes that much clearer.”); see also

  Gateway City Church v. Newsom, 141 S. Ct. 1460 (2021); Gish v. Newsom, 141 S. Ct. 1290 (2021);

  Harvest Rock Church, Inc. v. Newsom, 141 S. Ct. 1289 (2021); Robinson v. Murphy, 141 S. Ct.

  972 (2020); Harvest Rock Church, Inc. v. Newsom, 141 S. Ct. 889 (2020); Agudath Israel of Am.

  v. Cuomo, 141 S. Ct. 889 (2020); High Plains Harvest Church v. Polis, 141 S. Ct. 527 (2020);

  Roman Catholic Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63 (2020). Thus, the Magistrate’s

  invocation of the Chief Justice’s concurrence is unavailing.

         Ultimately, the court-ordered, enduring relief obtained by Plaintiffs places them squarely

  on the prevailing party spectrum provided by Sixth Circuit precedent:

                 Our decision in McQueary did not announce a strict rule. . . .
                 McQueary does not require a plaintiff to achieve such
                 comprehensive success in all instances in which cases are mooted
                 prior to the issuance of a final judicial order. That interpretation
                 would contradict other language in McQueary and conflict with
                 prevailing-party case law from the Supreme Court and our sister
                 circuits.

  Planned Parenthood Sw. Ohio Region v. Dewine, 931 F.3d 530, 540 (6th Cir. 2019) (cleaned up).

  Thus, where a preliminary injunction provides a plaintiff success on a “significant issue” that

  “achieved some benefit” and “conferred a lasting change in the legal relationship between the

  parties,” the plaintiff prevailed. See id. at 542. This is especially true where, as here, the


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  preliminary injunction is left on the books for a substantial period of time, is reviewed by the

  appellate court (in this case the initial IPA was granted by the appellate court), where it stems

  “from a careful and thorough review of the evidence and the merits,” and where it was not reversed

  or otherwise undone by the final decision in the same case, in an “active, merits-based undoing.”

  Id. at 539–540. Under similar circumstances, the Eastern District of Kentucky determined

  plaintiffs were prevailing parties in Ramsek v. Beshear, No. 3:20-cv-00036-GFVT, 2021 WL

  5098687, at *5–7 (E.D. Ky. Nov. 2, 2021). This Court should reach the same conclusion and hold

  Plaintiffs to be prevailing parties.

                                          CONCLUSION

          For all the foregoing reasons, and those in Plaintiffs’ Fee Motion (Doc. 74) and Reply in

  support (Doc. 85), the Court should reject the Magistrate’s Report and grant Plaintiffs’ Fee Motion

  and Bill of Costs.4

                                                    Respectfully submitted,

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         Plaintiffs will supplement their Fee Motion with the additional work required of their
  attorneys to litigate their objections to the Magistrate’s Report.


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                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing was filed via the Court’s ECF

  system which will effect service upon all counsel or parties of record.

         DATED this June 30, 2022.

                                                    s/ Roger K. Gannam
                                                    Roger K. Gannam
                                                    Attorney for Plaintiffs




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